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                                                             USDC SDNY
                                                             DOCUMENT
 UNITED STATES DISTRICT COURT                                ELECTRONICALLY FILED
 SOUTHERN DISTRICT OF NEW YORK                               DOC #:
                                                             DATE FILED: 4/29/2020
 DENNIS MARTINEZ, DOUGLAS
 NGUYEN, JAMES HALLENBECK, JILL
 WILDBERGER, and DISABILITY RIGHTS                         CIVIL CASE NO. 1:20-CV-03338
 NEW YORK,
                                                      ORDER TO SHOW CAUSE FOR
                        Plaintiffs,                  PRELIMINARY INJUNCTION AND
                                                    TEMPORARY RESTRAINIGN ORDER
        -against-

 ANDREW CUOMO, in his official capacity
 as Governor of New York State,

                        Defendant.



       Upon the declarations of Dennis Martinez, Douglas Nguyen, James Hallenbeck, and Jill

Wildberger, and the affirmation of Marc Fliedner, Esq. on behalf of Disability Rights New York,

sworn to the 28 day of April, 2020, and upon the copy of the complaint hereto annexed, it is
                                                                         at a teleconference
       ORDERED, that the above named Defendant show cause before a motion term of this

Court, at Room _____, United States Courthouse, 500 Pearl Street, in the City, County and State

of New York, on May 5, 2020 at 2:00______,
                ________________    p.m. ______, at __________ o’clock in the ____ noon

thereof, or as soon thereafter as counsel may be heard, why an order should not be issued

pursuant to Rule 65 of the Federal Rules of Civil Procedure enjoining the defendant during the

pendency of this action from denying Plaintiffs’ access to a live televised in-frame ASL

interpretation at any and all briefings designed to reach residents of New York; and it is further

       ORDERED that, sufficient reason having been shown therefor, pending the hearing of

Plaintiffs’ application for a preliminary injunction, pursuant to Rule 65, Fed. R. Civ. P., the

Defendant is temporarily retained and enjoined from denying Plaintiffs’ access to a live televised
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in-frame ASL interpretation at any and all briefings designed to reach residents of New York;

and it is further

        ORDERED that security in the amount of $ _____________ be posted by the Plaintiffs

prior to ________________ ______, ______, at __________ o’clock in the ____ noon of that

day; and it is further

        ORDERED that personal service of a copy of this order and annexed affidavit upon the

                                      5:00 ______ o’clock in the aftern
Defendant or his Counsel on or before ____                                  April 30, 2020
                                                                 ____ noon, _______________

____, ______, shall be deemed good and sufficient service thereof.

                                                        Plaintiff must post proof of service by close of
                                                        business on May 1, 2020. Defendant must file
DATED:        New York, New York                        responsive papers by May 4, 2020. The parties must
                                                        appear for the hearing on May 5, 2020 at 2:00 p.m.
ISSUED: __________________M                             by calling (888) 363-4749, using the access code
                                                        3121171 and the security code 6350.


                                                          _______________________________
                                                                     United States District Judge
                                                                                                    4/29/2020
